         Case 1:18-cr-00032-DLF Document 234 Filed 11/07/19 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                            Crim. No. 18-CR-32-2 (DLF)
               v.
                                            FILED EX PARTE, UNDER SEAL
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.



           GOVERNMENT’S MOTION FOR LEAVE TO FILE UNDER SEAL

       The United States of America, by and through undersigned counsel, respectfully move for

leave of the Court to file one exhibits attached to its Supplemental Response to Defendant Concord

Management and Consulting’s Motion to Disclose Ex Parte Communications Regarding the

Government’s Intention to Seek a Superseding Indictment [Dkt. No. 233] under seal. This exhibit

consists of a proposed redaction to a Minute Order of the Court that is currently under seal. Should

the Court decide to unseal the corresponding Minute Order in its entirety, the government

acknowledges that this motion would be moot.



                                      Respectfully submitted,


JOHN C. DEMERS                                               JESSIE K. LIU
Assistant Attorney General for National Security             United States Attorney

By: /s/                                                      By: /s/
Heather N. Alpino                                            Jonathan Kravis
U.S. Department of Justice                                   Luke Jones
National Security Division                                   Kathryn Rakoczy
950 Pennsylvania Ave. NW                                     555 Fourth Street NW
Washington, D.C. 20530                                       Washington, D.C. 20530
Telephone: (202) 514-2000                                    Telephone: (202) 252-6886


                                                 1
